WASHINGTON RAILWAY &amp; ELECTRIC CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Washington R. &amp; E. Co. v. CommissionerDocket No. 92435.United States Board of Tax Appeals40 B.T.A. 1249; 1939 BTA LEXIS 737; December 22, 1939, Promulgated *737  Petitioner, through a subsidiary, operates as a public utility in the District of Columbia, and in 1928 owned certain property located in what is now known as the "Government Triangle" the use of which was necessary in such business.  In that year an Act of Congress provided for the acquisition of such property by the Federal Government by condemnation or otherwise.  In anticipation of such acquistion and in order to carry on its operations without interruption, petitioner made certain expenditures in the purchase of property and construction of buildings, machines, and equipment prior to the time it received compensation from the Government for the property which the Government eventually took and in anticipatory replacement thereof.  These expenditures, together with similar expenditures made by petitioner after the receipt of compensation for the property replaced, exceeded the amount of such compensation.  Held, no gain or loss is to be recognized to petitioner as a result of such involuntary conversion of property pursuant to section 112(f), Revenue Act of 1928.  Nelson T. Hartson, Esq., for the petitioner.  Hartford Allen, Esq., and E. C. Morison, Esq.*738 , for the respondent.  KERN *1250  This proceeding involves a deficiency of $67,800.50 in petitioner's income tax for the calendar year 1930.  The petitioner prays that the deficiency be expunged and a refund of $54,335.23 allowed.  A public utility company, which was a subsidiary of petitioner, sold to the United States Government certain property in the city of Washington, D.C., which it used as offices and a substation in the distribution of its electric current to customers, including the Government itself.  This property was acquired by the Government in accordance with an Act of Congress authorizing its acquisition by purchase, condemnation, or otherwise.  The award paid to petitioner's subsidiary for this property amounted to $3,672,038.04.  The cost of the necessary replacement of plant and lines amounted to $4,138,364.18.  The cost of those replacements made by petitioner's subsidiary after the receipt of the award was only $2,654,240.28, while the cost of those made before the receipt of the award was $1,484,123.90.  As to the part of the award used after its receipt for replacements, the Commissioner concedes that this is not taxable income, but does*739  contend that the money spent for like property before the award does not come within section 112(f) of the Revenue Act of 1928, set out in the margin, 1 in determining whether the gain should be recognized.  The petitioner has not followed a consistent course, for in its original consolidated return for 1930 it returned as gain for its affiliate the difference between the award and cost.  Thereafter petitioner sought a refund of $133,194.59.  This claim was disallowed by the Commissioner and the present deficiency was determined.  The amount claimed as taxable income by the Commissioner is less than the gain originally returned by petitioner, but petitioner *1251  now claims, as indicated, that the amount of $1,484,123.90 expended for replacement before the receipt of the award should also be included in calculating what gain, if any, will be recognized under section 112(f), with a consequent expunging of the Commissioner's deficiency and grant of the refund.  The narrow question before us, then, is the application of the act to the before-made replacements.  *740  FINDINGS OF FACT.  The facts were, for the most part, stipulated, and are as follows: Petitioner was incorporated under the Acts of Congress of the United States approved July 29, 1892, as amended from time to time, under the name of Washington &amp; Great Falls Electric Railway Co., which was changed to Washington Railway &amp; Electric Co. in February 1902, pursuant to an Act of Congress approved June 5, 1900; and has its principal place of business at Tenth and E Streets, Northwest, Washington, D.C.  Under the last mentioned Act of Congress and the Joint Resolution of Congress of January 14, 1933, as amended, relating to merger, petitioner is authorized and permitted to hold stocks of certain corporations, including the Potomac Electric Power Co.  Petitioner is, and during the entire year 1930 was, the owner of all of the outstanding common stock of the Potomac Electric Power Co.  For the entire year 1930 the petitioner and the Potomac Electric Power Co. were affiliated corporations within the meaning of section 141 of the Revenue Act of 1928.  For the year 1930 the petitioner elected to and did file with the collector of internal revenue for the district of Maryland a consolidated*741  income tax return, including therein the income and deductions of several affiliated domestic corporations, and among these the income and deductions of the Potomac Electric Power Co.  A copy of the consolidated return was put in evidence and is incorporated herein by reference.  The respondent accepted this consolidated basis as the proper method of reporting income of the affiliated group for the year 1930.  The Potomac Electric Power Co. was incorporated under the laws of the United States relating to the District of Columbia.  Before and throughout 1930 it was an operating utility corporation, engaged in the District of Columbia in the business of producing, manufacturing, and selling electrical energy, power, and light, and related facilities, to the United States and the District of Columbia Governments, and to the public and others in the District of Columbia and immediately adjacent territory.  The Potomac Electric Power Co. is subject to the provisions of the Act of Congress of March 4, 1913, as amended, commonly referred to as the "Act creating the Public Utilities Commission of the District of Columbia", and to all lawful orders of the commission thereby created.  *1252 *742  The Potomac Electric Power Co., before their acquisition by the United States, owned squares 259 and 260 in the so-called "Government Triangle" in the District of Columbia, bounded by Pennsylvania Avenue and B Street (now called Constitution Avenue) and extending from Fifteenth Street to Sixth Street, in the northwest section of the city, together with a large substation and related facilities, including service building, shops, and garage, and an office building, all of which were situate in these squares.  The bill known as H.R. 483 was passed by the Seventieth Congress of the United States and approved on January 13, 1928, and authorized the Secretary of the Treasury "by purchase, condemnation, or otherwise", to acquire all the lands obtainable, including buildings and other structures, within the "Government Triangle" above described.  Squares 259 and 260, with all structures and improvements thereon, were sold to the United States under the authority and pursuant to the provisions of this act for $3,672,038.04, of which $3,600,000 was paid in cash to and received by the Potomac Electric Power Co. on January 13, 1930, and $72,038.04 was allowed the company for the net salvage*743  value of cables retained by it.  In petitioner's consolidated income tax return for 1930 it reported $1,109,954.88 as gain received by the Potomac Electric Power Co., its affiliated corporation, computed as set forth in schedule B of the return.  No claim was made in petitioner's consolidated return that this gain or any part thereof should not have been recognized for tax purposes as coming within the provisions of section 112(f) of the Revenue Act of 1928, and accordingly a total tax of $673,816.69 on the consolidated income was paid to the collector of internal revenue for the district of Maryland in four quarterly installments in 1931.  Thereafter, however, on December 12, 1932, petitioner filed its claim for refund in the amount of $133,194.59, claiming that the gain previously reported should not be recognized under section 112(f) of the Revenue Act of 1928.  On audit of petitioner's consolidated return, the Commissioner made a number of adjustments not material here, but disallowed the claim for refund as to those replacements made before the award's receipt.  The claim for refund was put in evidence and is incorporated herein by reference.  The total amount of expenditures*744  made for replacements was $4,138,364.18, as set forth in a detailed schedule of replacement expenditures, which was introduced in evidence and is incorporated herein by reference.  Of this sum, as already indicated, the Commissioner deducted $1,484,123.90, the amount of expenditures made before January 13, 1930, from the total replacement costs, and then deducted $2,654,240.28, the amount of expenditures after that date, from the total amount of the award of $3,672,038.04, thus leaving an unexpended balance of $1,017,797.76.  *1253  After January 13, 1930, when title to squares 259 and 260 vested in the United States, the Potomac Electric Power Co. continued to occupy both squares under a lease agreement of February 10, 1930, with the United States, at a monthly rental of $15Ooo per month from January 13, 1930, to December 12, 1930.  Thereafter, the company occupied only a portion of these squares, at a proportionately reduced rental, until March 31, 1931.  By this lease agreement the Potomac Electric Power Co. became lessee for a period not to exceed 18 months from January 13, 1930.  The property was completely relinquished and its possession surrendered to the United States*745  on April 1, 1931.  Shortly after the passage of the Act of Congress in January 1928, the Supervising Architect's office of the Treasury informed petitioner that the Government wanted the land in question and would prefer, as a speedier method, to effect a purchase rather than to exercise the power of eminent domain.  The petitioner, because of the general convenience of having its executive offices, its operating, commercial, engineering, garage, warehousing, and shop facilities centralized in one spot, was relunctant to move, and even at first suggested that it would reform the architecture of its buildings so as to make them more congruous with the Government style or incorporate some of its facilities in the new Government buildings.  In the conferences of petitioner's engineer with the Government's engineer, the suggestion was repeatedly made by the latter that if an agreement could not be reached the Government could always resort to condemnation proceedings.  The petitioner held out for a while for a larger price, but finally, on the Government's suggestion, made an offer by letter on September 18, 1929, which was amplified somewhat in detail by its letter of September 24, 1929, to*746  sell for $3,600,000; and this offer was accepted by the Government by letter on September 27, 1929, by the terms of which the petitioner was allowed to remain in possession for 18 months from that date.  On the south side of square 159 was a building erected as a steam generating station, which included a boiler house and five generators.  In the engine room was the most important substation of the system, the functions of which were to convert high voltage alternating current into low voltage direct current for power and lighting, for transforming high voltage alternating current into 4,000-volt alternating current, into 600-volt direct current for street railway purposes, and into high voltage direct current for arc lights.  There was also a miscellaneous conversion equipment.  On the north side was a four-story office building used for offices, laboratories and storerooms.  There were also an automobile garage and repair shop and general machine shops.  Square 260 was occupied by various buildings, including a garage, an office building, and various storage houses.  *1254  Heavy cable was stored in the yard space.  This equipment was essential for the carrying on of petitioner's*747  business, and the concentration of the several parts in one spot was of great advantage.  This was the reason for petitioner's reluctance to quit the site.  This substation supplied from a direct current network of heavy cables or mains all that region lying between Third and Twenty-first Streets Northwest, on the east and west, and Constitution Avenue and M Street on the south and north; and also the region lying south of Constitution Avenue and east of Fourteenth Street, including the Bureau of Printing and Engraving and the Department of Agriculture.  It also supplied a radial service of 4,000 volts to three regions outside the business area, including practically all the southwest quarter of the city, the region from Constitution Avenue north to S. Street and between Fourteenth and Twenty-seventh Streets (outside the direct current network, mentioned above), and a large part of Arlington County, Virginia.  In addition, the street railway service was supplied.  Extensive technical studies were made to determine proper sites to which these various facilities could be removed and again utilized.  The cost of land downtown was too high for petitioner to consider putting its offices, *748  warehouses, shops, and garages downtown, but it was necessary that its operating departments be kept together in such a site.  Relocation of the substation involved the double problem of practical convenience and compliance with legal zoning restrictions.  The site finally chosen was near Eleventh Street and Florida Avenue Northwest.  A certificate of public convenience and necessity for the erection of such a building was obtained three months after it was applied for.  Redesigning of the machines was necessary to secure efficiency and reduce noise.  Petitioner's engineers and those of General Electric Co. began plans for a machine and its housing in January 1928, and an order was placed for the first unit of it a year later.  The preliminary work involved the study of substations by petitioner's chief engineer in various cities.  Delivery and preliminary operation of the machine began in January 1930.  The site, on I street between Ninth and Tenth Streets Northwest, was bought by petitioner in May 1929, the building construction contract given the same month and the building completed in November 1929.  The next replacement was that of the 4,000-volt alternating current supply. *749  Much the same problem as in the direct current substation was present except that the problem of design was less difficult.  Removal from the old substation, as in the case of direct current, was impossible until the new substation was completed if the supply of current was to be maintained.  Petitioner bought a site on Champlain Street north of Florida Avenue in October 1929, and the building on *1255  it was completed in June 1930.  Petitioner began preliminary operations in it in November 1930.  Petitioner then began dismantling the old substation, which continued until March 1931.  Petitioner bought land for an office building at Tenth and E Streets Northwest, in June 1928.  An architect was employed in October 1929, and construction was begun in May 1930 and practically completed in March 1931.  The relocation of electrical equipment taken from the old substation required its adaptation to different conditions and, where this was impossible, its abandonment, which was necessary in some cases, as for instance, that of a 1,000-kilowatt direct current motor generator.  Street railway cables, street lighting circuits, 4,000-volt "feeders" and high tension "feeders" had*750  to be rerouted and a field reconnaissance carried out before cable could be ordered in proper lengths.  About 15 percent of the total charge of the money value for street distribution was made in 1929, but it required more than a year to make the distribution, the work being completed in January 1931.  To prevent discontinuance of service between removal from the old substation and renewal of service from the new, as for example, to the Department of Agriculture and Bureau of Engraving, it was necessary to borrow machines from other substations and to establish temporary substations, and reinforce other substations to carry high tension direct current.  The new substation in Champlain Street required the extension of 13,000-volt "feeders" to the generating station at Benning, 4 to 4 1/2 miles away.  The old substation carried 20 percent of the downtown load, which could not have been carried by redistribution among other than existing substations.  This was true also of the alternating current supplied to described business and residential regions.  Petitioner's engineers had estimated that from 2 1/2 to 3 years would be necessary to effect all these changes.  The total sum expended*751  for new land, buildings, and lines was necessary and essential in order for the petitioner to acquire satisfactory replacements of property sold to the Government.  The period of 18 months for evacuation of the purchased city squares allowed by the original terms of sale in September 1929 was extended by a later lease agreement made February 10, 1930, to 18 months from January 13, 1930, or to July 13, 1931.  On December 12, 1932, petitioner filed a claim for refund of taxes illegally collected in the sum of $133,194.59 for the taxable year 1930, basing its claim upon section 112 of the Revenue Act of 1928.  The tax involved herein and in such claim for refund was paid by petitioner within three years before the filing of its claim, which was filed prior to the filing of the petition herein.  *1256  OPINION.  KERN: The narrow question here raised is whether, petitioner having received an award on January 13, 1930, from the Government in excess of the cost of its land and improvements used in supplying electric power to its street railway line and street lighting system and to individual patrons, including the Government itself, and having expended a total sum in replacement*752  in excess of the award, is entitled to treat that part of the total replacement cost spent before the award was made as replacement cost within the meaning of section 112(f) of the Revenue Act of 1928.  The Government freely concedes petitioner's right to do so with moneys spent after the award, Article 579 of Treasury Regulations 74, which is pertinent here, is set out in the margin. 2*753  Respondent apparently raises no question of petitioner's expenditures having been made to replace property about to be taken over by the Government, of the conversion being involuntary, of the similar character and service of the property replaced, or of the threat or imminence of the condemnation at the time the replacements were made.  If any such question were raised, it could easily be answered by reference to our findings, which show beyond doubt that in all these respects petitioner fell within the provision of the statute, nor can there be any doubt on the facts that the maintenance by petitioner of its public utility service to the Government and to its other customers made a sudden and abrupt change in the place of operation of its substation impossible.  The shift had to be brought about so as to prevent interruption of its functions as a public utility and had to be done gradually, since the technical difficulties were substantial.  New land had to be acquired, new buildings constructed, and in some instances new machinery built according to special designs in order *1257  to reduce to a minimum the inevitable noise of operation in a residential part of the city. *754  New mains and trunk lines had to be built for the new power substation while the load of the old was gradually distributed among existing substations near the condemned one so that service would continue without interruption.  All these things were done after it became apparent, through the enactment of the Act of Congress providing for condemnation of the land under its power of eminent domain should it prove necessary, that the petitioner could no longer hold it or continue to use it.  Some of the replacement was done before the payment was made on the so-called "sale" - for with the exercise impending of a power eminent over all private rights, the sale was one in form only and not a bargain freely arrived at between a willing buyer and a willing seller - and some of the replacement after the receipt of such payment.  The respondent concedes the statutory propriety of the latter but challenges the former solely on the ground that money used to acquire new and similar property for a similar use in anticipation of an involuntary conversion of the taxpayer's existing property into cash is beyond the statute, whereas money received as part of such an award and thereafter expended in*755  replacement is within it.  We think that so narrow a construction loses sight of the ameliorative intent of the provision.  A relief provision should be construed liberally to effect its purpose.  Helvering v. Bliss,293 U.S. 144"&gt;293 U.S. 144; United States v. Pleasants,305 U.S. 357"&gt;305 U.S. 357, 363. Nor doesthe statute in literal terms require that the award shall be paid and then, and not until then, used for replacement.  It says that "if property (as a result of * * * an exercise of the power of requisition or condemnation, or the threat or imminence thereof ) is compulsorily or involuntarily converted into property similar or related in service or use", no gain shall be recognized.  (Italics ours.) Applying this language to the present situation, we must conclude that if petitioner has exchanged its substation, office building, laboratories, garages, etc., for other like buildings, there would have been no gain, for it would have been immaterial that condemnation had not taken place and the award had not then been made.  *756 Davis Regulator Co.,36 B.T.A. 437"&gt;36 B.T.A. 437, 443. So, also, it is clear that if the buildings had been converted "into money which is forthwith in good faith * * * expended" in like property, there would have been no gain; and it is such a conversion by the payment of the award and its immediate reinvestment by petitioner which respondent has recognized here.  But respondent insists that money still unpaid can not be forthwith reinvested nor property still in petitioner's ownership converted into other property, although the old property was at the time concededly *1258  subject to an imminent compulsion.  We think otherwise.  As we intimated, but did not decide, in Francis V. duPont et al., Executors,31 B.T.A. 278"&gt;31 B.T.A. 278, 280: It might be that an expenditure in anticipation of involuntary conversion, where such conversion is imminent, might be found to be closely enough related thereto to come within the nonrecognition provisions.  We think that the situation here justifies the application of this principle.  The petitioner's property in the old power substation and other buildings in the doomed area was, in our opinion, as much "converted" by and at*757  the time of the purchase of new buildings intended for the same use as though they had been then exchanged for the new buildings; and this "conversion" having taken place after the threat of the exercise of the sovereign's power became imminent, for the authorizing Act of Congress spoke of condemnation or otherwise "at an early date," and the Treasury officials left no doubt in the minds of petitioner's officers that delay would not be tolerated, the fact that the petitioner retained until the so-called "sale" to the Government a bare legal title to the old buildings and land can not obscure the fact that the involuntary conversion was already, for all practical purposes, complete and that practical public considerations alone made necessary the postponement for a brief spell of the surrender of petitioner's title.  The case is a close one, but any other conclusion would defeat the remedial intendment of the provisions in circumstances which we think were obviously intended to be embraced within it.  Even though we consider the situation here covered by that part of the statute having to do with the conversion of the property into money which is forthwith expended in the acquisition*758  of similar property, we can see no reason compelling us to make so illiberal a construction of the statute as to conclude that the relief provided by it and intended by Congress is not available to petitioner.  To do so it would be necessary to construe the word "forthwith" as meaning "afterwards", that is, after the actual conversion and the receipt of the award.  The dictionary defines "forthwith" as follows: Immediately; without delay; directly; hence, within a reasonable time under the circumstances of the case; promptly and with reasonable dispatch.  According to this definition it seems apparent that Congress, by the use of the word "forthwith", meant to provide that the expenditure of money resulting from the involuntary conversion of property in the acquisition of similar property must be made with some immediate chronological relationship to the conversion, thereby guarding against such a long delay after the conversion as to raise a doubt whether the purchase of similar property was actually and in good faith a replacement, or was an additional investment.  If there is that immediate *1259  chronological relationship between the expenditure for replacement and*759  the condemnation or threat thereof, it is immaterial that the expenditure for replacement immediately preceded the payment of the compensation or immediately followed it.  Upon this general subject see August Buckhardt,32 B.T.A. 1272"&gt;32 B.T.A. 1272; M. J. Caldbeck Corporation,36 B.T.A. 452"&gt;36 B.T.A. 452. Respondent leans heavily on two decisions of the Court of Appeals for the Second Circuit as supporting an opposite view.  There are peculiar circumstances in the first of these cases which, notwithstanding a certain generality in the court's language, distinguish it in principle from the instant case.  The statute in the section considered speaks of the requirement of "good faith," but even if this were absent, it would follow necessarily that a taxpayer seeking to avail himself of a relief provision, which is a matter of grace and not of right, may not abuse it.  And by the same token, a relief provision although liberally construed so as to effect its alleviatory purpose should not be so loosely construed as to make easy its abuse by taxpayers acting mala fide. Probably all men would agree on the difference between these extremes, but when the line between approaches*760  the mean, the question of where it should be drawn is a question of degree, and as to that reasonable men may differ.  Cf. Holmes, J., in Klein v. Board of Tax Supervisors,282 U.S. 19"&gt;282 U.S. 19, at page 22. We think, however, that the principal case relied on by respondent, Bandes v. Commissioner, 69 Fed.(2d) 812 (C.C.A., 2d Cir.), affirming 28 B.T.A. 99"&gt;28 B.T.A. 99, when compared with the situation in the instant case, well illustrates where the distinction lies between liberal interpretation of a relief provision and loose construction which lends itself to abuse.  In that case the petitioner, his brother, and another acquired in 1926 certain land in New York City which they intended to convey to a wholly owned corporation which should build an apartment house on it.  Before construction was begun, however, the city condemned the land for a school site, proceedings starting in January 1927 and title passing in February, but the award not being confirmed until June 1928.  The award was paid in July and each brother realized a gain recognizable if section 112(f) did not apply.  The brothers, after learning that condemnation was imminent, looked for*761  other property on which to build an apartment house.  The best they could do was to buy two separate parcels of about the same total area, and by March 1927 they had contracted to buy both and had taken title to them by May of that year.  Construction was begun on one in June and on the other in the fall of the same year.  The brothers made advances to the apartment house corporation for the work, and when the award was paid them they deposited it in their joint bank account to offset these prior advances.  The Circuit Court *1260  held that this application of the award did not satisfy the statute, saying (at page 813): Replacement by the taxpayer must refer to his use of the money paid for the property, because, of replacement by the taxpayer out of any of his funds were considered a conversion in kind, there would be no conversion into money, for the two alternatives are mutually exclusive.  In the case at bar there was clearly a conversion of the condemned property into the money paid for it by the city, and the inquiry must be whether the petitioner expended the money in the manner required by the statute as a condition precedent to nonrecognition of gain or loss.  *762  It is tempting to say that, if a taxpayer buys lot B on borrowed money and pays the debt with the award he gets for the condemnation of lot A, he has acquired lot B with the award.  Whether the statute will permit of such a construction we need not now decide.  To sustain the petitioner in the present case, we should have to construe it even more broadly and say that a taxpayer may use any of his funds to buy the new property, and, when he recoups the expense by receipt of the award, regardless of how it is actually expended, the new property may be considered to have been acquired out of the award.  This would leave nothing to the statute except that the taxpayer must acquire new property with an intent to substitute it for the old.  The language is much too specific to be capable of that construction * * * The generality of the language employed might indicate that the Circuit Court thought that the use of other money to procure new property of a like nature and use, unless, as it suggests, that money was not the taxpayer's but only borrowed, would not comply with the provision's requirement.  In other words, the "conversion" would not be the procurement of new like property under*763  the threat of loss of the old, but the actual translation of the old property into cash and the translation of that specific cash into new property, a sequence of acts which would make impossible any anticipatory replacement such as we have in the instant case.  With this view we disagree, but we do not think that Bandes's case on its facts and apart from its language requires such a conclusion.  There the taxpayer had made no use of his land to build an apartment house before its condemnation.  He might have acquired it for merely speculative purposes, with the intention of resale at a profit.  The conversion of it into cash by condemnation was clearly involuntary, but we would have only the taxpayer's statement of his intention to use the land for an apartment house to justify us in saying that the new land was a true replacement.  If the benefit of the statute were extended to such cases, the way would be left open to the postponement of taxation of gainful transactions in no substantial way different from voluntary sales where the gain is immediately recognizable.  In the instant case, the nature of the taxpayer's business requiring replacement and interim maintenance of*764  public services and the use of the new property for the same purposes as the old, guarantees the bona fides of the anticipatory reinvestment *1261  of the proceeds of involuntary conversion.  The line may not always be an easy one to draw, but here seems certain.  The distinction after all between that case and this is one of reality and not of merely formal logic, and taxation as a practical matter should look to realities.  Another factual distinction between Bandes's case and the instant proceeding is apparent from a reading of the following significant passage in the opinion of this Board accompanying the decision which that case affirmed, reported in 28 B.T.A. at page 99: But there may be room for doubt whether the statute is to be so strictly read as to preclude its application to a case where the taxpayer has been forehanded enough to provide for the replacement without waiting for the ultimate and complete consummation of the condemnation and payment.  How important the precise sequence of events alone may be under this statutory provision need not be decided in this proceeding.  These petitioners were not in the position where, to put themselves*765  where they would have been but for the condemnation, they used the proceeds of the award to buy similar property or to pay for such property which they had already bought.  So far as this record shows, the two latter parcels were bought and paid for with separate and free funds and sold to the Naside corporation, a transaction like others in which the petitioners were customarily engaged.  The condemnation compensation was not used either to buy or to pay for similar property, but was invested in a loan to the Naside corporation, a separate entity, Burnet v. Clark,287 U.S. 410"&gt;287 U.S. 410. Nothing in such circumstances indicates the enforced transaction or the hardship which this provision of the statute was designed to alleviate.  * * * Also, it may be doubted whether the facts of Bandes's case constitute a replacement within the meaning of the statute.  Rather, it would seem to be an anticipatory substitution of one investment for another.  If the taxpayer in that case had constructed and was operating an apartment house and a necessary and component part of it, such as a garage or a kitchen wing, was to be condemned, and in anticipation of this the taxpayer had constructed*766  another garage or kitchen wing to take the place of the one to be condenmed for the purpose of effectively continuing the operation of his apartment house, then there could be no question but that there had been a replacement.  However in Bandes's case the taxpayer had not constructed and was not operating an apartment house.  He intended to make an investment in one but before he could do so it became apparent that it would be impossible for him to make the investment in the form and at the location which he intended.  Thereupon, he decided to invest instead in the construction of two other apartment houses at two other locations.  It may be that his intention to invest in the first apartment house was replaced in his mind by the later intention to invest in the two apartment houses which were actually constructed, but it is difficult to understand how these two apartment houses could be considered as replacing an apartment house which was never built, *1262  within the meaning of this section of the statute.  Perhaps it is this difficulty which led the Circuit Court in Bandes's case to use the language it did in the second paragraph of that portion of its opinion which*767  we have already quoted.  That difficulty is not present in the instant proceeding because the petitioner's investment in a public utility company continued unchanged.  It was merely necessary to replace some indispensable component parts in the physical plant of that company in order to continue its operation.  The respondent's second reliance, Wilmore S.S. Co. v. Commissioner, 78 Fed.(2d) 667, reversing 30 B.T.A. 866"&gt;30 B.T.A. 866, was decided by the same Circuit and is even more doubtful as authority.  There the taxpayers had sustained a loss of certain ships through sinking by a German submarine in war in 1917.  An award was paid to the taxpayer in August 1928 in accordance with the terms of an Act of Congress in settlement of war claims.  The taxpayer had contracted for the building of new ships in June 1928 before the award and payment was made, paying for them by installments, and by the end of that year had paid more on their construction than the amount of the award.  "As the payments were to be by installments", the court said, "it must be assumed that nothing was paid in advance." And after holding the new ships to be a replacement within the statute*768  the court concluded with this explanatory limitation on its decision in Bandes's case: Our decision in Bandes v. Commissioner,69 F.(2d) 812, is not contra.  It went no farther than to hold that under section 112(f) of the Revenue Act of 1928, a taxpayer could not claim an exemption for any profit realized in a condemnation proceeding if he used the profit merely to repay his own prior expenditures in purchasing similar property. [Italics supplied.] It would appear from this quotation that the Circuit Court for the Second Circuit intends to limit the rule of Bandes's case to its peculiar facts.  If, in addition to the fact that "similar property" was purchased, it also appears, as in this proceeding, that the "similar property" was necessary to replace and did replace property used in the operation of a continuing investment in the form of an existing public utility company, we have a situation which would seem to be outside the orbit of that case.  We wish to again point out and stress the fact that petitioner here in operating a public utility and hence may not suspend service without incurring serious consequences to itself and grievous inconvenience*769  to the public.  Therefore it is of compelling importance to it to anticipate wherever possible necessary replacements in its plant and equipment.  No other cases dealing with the precise question here have been called to our attention, nor have we found any.  As we pointed out *1263  at the outset, the very reason for enacting a relief provision requires that it be liberally construed; and where the circumstances of the case preclude all possibility of a fraud being practiced on the statute, we can perceive no valid reason why section 112(f) does not comprehend an anticipatory conversion of condemned (or about to be condemned) property into new property such as happened here before the award was paid; at least, under circumstances present in this proceeding, and we so hold.  It must follow that there is no deficiency in petitioner's income tax liability for the year 1930, and, also, that petitioner has overpaid its taxes for that year.  Reviewed by the Board.  Decision will be entered under Rule 50.Footnotes1. SEC. 112.  RECOGNITION OF GAIN OR LOSS.  * * * (f) INVOLUNTARY CONVERSIONS. - If property (as a result of its destruction in whole or in part, theft or seizure, or an exercise of the power of requisition or condemnation, or the threat or imminence thereof) is compulsorily or involuntarily converted into property similar or related in service or use to the property so converted, or into money which is forthwith in good faith, under regulations prescribed by the Commissioner with the approval of the Secretary, expended in the acquisition of other property similar or related in service or use to the property so converted, or in the acquisition of control of a corporation owning such other property, or in the establishment of a replacement fund, no gain or loss shall be recognized.  If any part of the money is not so expended, the gain, if any, shall be recognized, but in an amount not in excess of the money which is not so expended. ↩2. ART. 579.  Involuntary conversion of property. - Section 112(f) deals with cases in which property is compulsorily or involuntarily converted into similar property, or into money, as a result of fire, shipwreck, theft, condemnation, or similar causes enumerated in the Act.  If the property so destroyed, stolen, seized, or condemned is replaced in kind by similar property or property related in service or use, no gain or loss is recognized.  If, however, the original property is compulsorily or involuntarily converted into money, gain or loss will be recognized unless the money is forthwith, under regulations prescribed by the Commissioner with the approval of the Secretary, expended - (1) In the acquisition of other property similar or related in service or use to the property so converted, (2) In the acquisition of control of a corporation owning such other property, or (3) In the establishment of a replacement fund.  If any part of the money is not so expended, the gain if any, shall be recognized, but in an amount not in excess of the money which is not so expended.  See article 601 for the basis for determining gain or loss from the sale or other disposition of the property so acquired. ↩